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 6   Attorney for Charlene LeeAnn MITCHELL
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                IN THE UNITED STATES DISTRICT COURT FOR THE
10
                        EASTERN DISTRICT OF CALIFORNIA
11
12
     UNITED STATES OF AMERICA,     )      CR. No.2:08-CR-0186 MCE
13                                 )
                     Plaintiff,    )      STIPULATION AND PROPOSED ORDER
14             v.                  )
                                   )
15                                 )
     Charlene LeeAnn Mitchell      )
16                                 )
                      Defendant.   )
17   ______________________________)
18
19        The defendant, Charlene LeeAnn Mitchell, through her
20   undersigned counsel, and the United States, through its
21   undersigned counsel, agree and stipulate that the status
22   conference hearing currently scheduled for Thursday, August 14,
23   2008, at 9:00 a.m., should be vacated and continued until
24   Thursday, August 28, 2008, at 9:00 a.m..
25        Further continuance is necessary for plea negotiations and
26   investigation and evaluation of case.
27      Therefore, additional time is needed for further evaluation of
28   the case for settlement and meeting with client.
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 1        Therefore, the parties agree and stipulate that time should
 2   be excluded under the Speedy Trial Act pursuant to Local Code T4
 3   for investigation and plea negotiations, up to and including
 4   August 28, 2008.
 5        I, William E. Bonham, the filing party, have received
 6   authorization from AUSA Lawrence G. Brown to sign and submit this
 7   stipulation and proposed order on their behalf and that defense
 8   counsel has authorization from his respective client.
 9        Accordingly, the defendant and the United States agree and
10   stipulate that the status conference should be continued until
11   9:00 a.m. on Thursday, August 28, 2008.
12
13   Dated: August 12, 2008
14                                     McGREGOR W. SCOTT
                                       United States Attorney
15
                                        /s/ William E. Bonham for
16                                   By:_______________________
                                        LAWRENCE G. BROWN
17                                      Assistant U.S. Attorney
18
19
20
21   Dated: August 12, 2008
                                     CHARLENE LEEANN MITCHELL
22                                      Defendant
23
24                                   By:/s/William E. Bonham for
                                      WILLIAM E. BONHAM
25                                         Counsel for Defendant
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 1                                    ORDER
 2        IT IS SO ORDERED.    This matter is continued until 9:00 a.m.
 3   on Thursday, August 28, 2008 for further status.
 4        I find that the    continuance is necessary to allow defense
 5   counsel sufficient time to evaluate case and for further plea
 6   negotiations. I further find that the needs of counsel to
 7   evaluate the evidence and advise their clients exceed the needs
 8   of the public for a trial within 70 days, so that the interests
 9   of justice warrants a further exclusion of time.        Accordingly,
10   time should be excluded under the Speedy Trial Act pursuant to
11   Local Code T4 for counsel to have sufficient time for plea
12   negotiations and meeting with client and time for further ongoing
13   negotiations and evaluation of case, up to and including August
14   28, 2008.
15
     Dated: August 13, 2008
16
17                                    _____________________________
18                                    MORRISON C. ENGLAND, JR.
                                      UNITED STATES DISTRICT JUDGE
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